            Case 2:15-cv-04130-MAK Document 14 Filed 02/08/16 Page 1 of 2



NITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

                                                 :
Nickole Steger,                                  :
                                                 :
                                                 :
                      Plaintiff,                 :
                                                   Civil Action No.: 2:15-cv-04130-MAK
       v.                                        :
                                                 :
Continental Finance Company, LLC; and            :
                                                                                                   (
DOES 1-10, inclusive,                            :
                                                                                                   D
                                                 :
                                                                                                   R
                                                 :
                                                                                                   H
                      Defendants.                :

                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: February 8, 2016

                                                  Respectfully submitted,

                                                  PLAINTIFF, Nickole Steger

                                                  /s/ Jody B. Burton

                                                  Jody B. Burton, Esq.
                                                  Bar No.: 71681
                                                  LEMBERG LAW, L.L.C.
                                                  43 Danbury Road, 3rd
                                                  Wilton, CT 06897
                                                  Telephone: (203) 653-2250
                                                  Facsimile: (203) 653-3424
                                                  jburton@lemberglaw.com
         Case 2:15-cv-04130-MAK Document 14 Filed 02/08/16 Page 2 of 2



                                CERTIFICATE OF SERVICE

        I hereby certify that on February 8, 2016, a true and correct copy of the foregoing Notice
of Settlement was served electronically by the U.S. District Court Eastern District of
Pennsylvania Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                             By_/s/ Jody B. Burton_________

                                                     Jody B. Burton
